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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                 DELTA DIVISION


DEXTRIC WILLIAMS, INDIVIDUALLY AND
ON BEHALF OF THE HEIRS-AT-LAW/
WRONGFUL DEATH BENEFICIARIES OF
JERMAINE WILLIAMS, DECEASED                                               PLAINTIFF

VS.                                                    CIVIL ACTION NO. 2:10CV215

CITY OF CLEVELAND, MISSISSIPPI; TASER
INTERNATIONAL, INC.; STANLEY PERRY,
INDIVIDUALLY AND IN HIS OFFICAL CAPACITY;
AND BRYAN GOZA, INDIVIDUALLY AND IN HIS
OFFICIAL CAPACITY                                                        DEFENDANTS



                  TASER INTERNATIONAL, INC’S
  MOTION TO EXCLUDE ECD-RELATED MEDICAL CAUSATION OPINIONS OF
             DEPUTY CORONER AND MEDICAL EXAMINER



       Pursuant to Daubert v. Merrell Dow Pharms., 509 U.S. 579 (1993) and Fed. R. Evid. 702,

Defendant TASER International, Inc. (“TASER”) moves to exclude the wholly unqualified and

unreliable medical causation opinions of Bolivar County deputy coroner J.O. Trice, M.D., and

Mississippi medical examiner Amy Gruszecki, D.O., that the TASER® X26™ Electronic Control

Devices (“ECD”) used by officers of the Cleveland Police Department on Jermaine Williams

(“Williams”) on July 23, 2010, caused or contributed to Williams’ death. This motion relates to:

        1.     The ever-changing opinions Dr. Trice, a convicted felon and general internist

whose license to practice medicine was revoked in both Massachusetts and Louisiana for

demonstrating “a complete disregard for the law, for the ethics of his profession, for the welfare

of his patients and for standards of practice” prevailing in those states. Dr. Trice currently serves
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as an unlicensed deputy coroner, who transported Williams’ body, observed the autopsy,

attempted to influence the opinions of the medical examiner, and spouted off to the media that

Williams’ death was a homicide attributed “solely to the TASER.” Dr. Trice is wholly

unqualified to make an ECD cause of death determination in this case, and his speculative

opinions are unreliable and lacking in any factual basis; and

       2.      The unqualified and unsupported opinions of Dr. Gruszecki, the forensic

pathologist who performed Williams’ autopsy. Dr. Gruszecki concedes she has no relevant ECD

or electrical knowledge or experience to support her cause of death determination that Williams

died from “[t]oxic effects of cocaine in association with shocks with taser during police chase,”

that no actual autopsy finding supports any ECD contribution, and that the cocaine in Williams’

system was enough to kill him without any TASER ECD use.

       This motion is supported by TASER’s separate Memorandum of Law; simultaneously

filed Statement of Facts (“SOF”); TASER’s separately filed Daubert motion to exclude the

wholly unsupported ECD opinions of Mark Seifert, M.D. (“Seifert Daubert”), a Phoenix cardiac

electrophysiologist retained by Plaintiff; and the Court’s entire file in this matter. For the Court’s

convenience and to eliminate unnecessary duplication, TASER has filed herewith a Consolidated

Set of Exhibits jointly supporting these motions. TASER requests oral argument on this motion

and requests that the Court set a combined motions hearing to address the overlapping issues

presented by its Motion for Summary Judgment and various Daubert Motions.

       RESPECTFULLY SUBMITTED this 15th day of December, 2011.

                                               TASER INTERNATIONAL, INC.


                                               /s/ David C. Goff
                                               DAVID C. GOFF



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                                CERTIFICATE OF SERVICE

       I hereby certify that on December 15, 2011, I electronically filed the foregoing with the

Clerk of the court using the ECF system which sent notification of the filing to the following:

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